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                            THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA ex rel. PAUL                 Civil Action No. 1:19-cv-3581
 TERRION and JODY EBERHART, et al.
                       Plaintiffs/Relators,
                                                       [PROPOSED] ORDER GRANTING
 v.                                                    UNOPPOSED MOTION FOR
 POINT BLANK ENTERPRISES, INC. et al.,                 VOLUNTARY DISMISSAL OF
                                                       CERTAIN CLAIMS
                        Defendants.


             [PROPOSED] ORDER GRANTING UNOPPOSED MOTION FOR
                  VOLUNTARY DISMISSAL OF CERTAIN CLAIMS

        Upon review of Plaintiffs’/Relators’ Unopposed Motion for Voluntary Dismissal of

Certain Claims, and good cause appearing therefrom, it is hereby

        ORDERED that the Motion is GRANTED; and it is further

        ORDERED that all claims against Defendants JLL Partners, LLC, Sun Capital Partners,

Inc., Rival Technologies, LLC, and Galls, LLC are DISMISSED WITHOUT PREJUDICE; and it

is further

        ORDERED that all claims pursuant to the Oklahoma Medicaid False Claims Act (Count

XX of the original Complaint) are DISMISSED WITHOUT PREJUDICE; and it is further

        ORDERED that all claims pursuant to the Chicago False Claims Ordinance (Count XXVI

of the original Complaint) are DISMISSED WITHOUT PREJUDICE; and it is further

        ORDERED that the First Amended Complaint is accepted for filing.



Date: ____________________                                 ___________________________
                                                           The Hon. Florence Y. Pan
                                                           United States District Judge
